             Case 2:10-cr-00304-MCE Document 169 Filed 01/09/13 Page 1 of 2


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4
5    Attorney for Defendant
     SALVADOR REYES-SARAVIA
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7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,                     )   No. 2:10-cr-00304-MCE
                                                   )
13                         Plaintiff,              )
                                                   )   STIPULATION AND ORDER RESETING J&S
14          v.                                     )
                                                   )
15   SALVADOR REYES-SARAVIA,                       )
                    Defendant.                     )
16                                                 )
     _______________________________               )
17                                                 )
18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney Michael
19   Beckwith, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for Defendant Salvador Reyes-
20   Saravia, that the date for Judgement and Sentencing be re-scheduled to March 7, 2013. There are pending
21   matters that may affect the ultimate sentence recommended by the government that remain outstanding.
22
23
24          IT IS SO STIPULATED.
25
26   Dated: January 7, 2013                             /S/ Dina L. Santos
                                                        DINA L. SANTOS
27                                                      Attorney for
                                                        Salvador Reyes-Saravia
28
             Case 2:10-cr-00304-MCE Document 169 Filed 01/09/13 Page 2 of 2


1
     Dated: January 7, 2013                               /S/ Michael Beckwith
2                                                         MICHAEL BECKWITH
                                                          Assistant United States Attorney
3                                                         Attorney for Plaintiff
4
5
                                                     ORDER
6
7           Pursuant to the above stipulation of the parties, the judgment and sentencing set for January 10, 2013,
8    is hereby vacated and continued to March 7, 2013.
9
            IT IS SO ORDERED.
10
11
      Dated: January 8, 2013
12
13                                                _____________________________________
                                                  MORRISON C. ENGLAND, JR., CHIEF JUDGE
14
                                                  UNITED STATES DISTRICT JUDGE
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     Stipulation and Order                                 2
